            Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 1 of 10




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 LUCY CONCORDIA

        Plaintiff,
 v.

 RATCHFORD LAW GROUP, P.C.

        Defendant.


                             COMPLAINT AND JURY DEMAND


                                        INTRODUCTION

       1.       The United States Congress has found abundant evidence of the use of abusive,

deceptive, and unfair debt collection practices by many debt collectors, and has determined that

abusive debt collection practices contribute to the number of personal bankruptcies, marital

instability, to the loss of jobs, and to invasions of individual privacy. Congress wrote and passed

the Fair Debt Collection Practices Act to eliminate abusive debt collections practices by debt

collectors, to ensure that those debt collectors who refrain from using abusive debt collection

practices are not competitively disadvantaged, and to promote consistent State action to protect

consumers against debt collection abuses.

       2.       This action arises out of Defendant’s illegal efforts to collect a consumer debt

from Plaintiff in violation of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §

1692 et seq.
            Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 2 of 10




                                  JURISDICTION & VENUE

       3.       The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and/or 1337 because

this case arises under the laws of the United States and is brought pursuant to the FDCPA, 15

U.S.C. § 1692, et seq.

       4.       Venue is proper in this Court because, pursuant to 28 U.S.C. § 1391(b), a

substantial portion of the acts giving rise to this action occurred within the Commonwealth of

Massachusetts.



                                            PARTIES

       5.       Plaintiff Lucy Concordia (“Ms. Concordia” or “Plaintiff”) is a natural person

residing in Worcester, Massachusetts

       6.       Defendant Ratchford Law Group (“Ratchford”) is a foreign corporation organized

under the laws of the State of Pennsylvania, and with a principal office located in Pennsylvania.



                                       COMMON FACTS

       7.       On or about December 26, 2017, Synchrony Bank (“Synchrony”) filed a lawsuit

against Ms. Concordia with the Worcester District Court, identified as C.A. No. 1762 CV 1698.

(Exhibit A).

       8.       In that action, Synchrony alleged that Ms. Concordia owed it the sum of

$9,043.96 relating to a credit card with an account number ending in 2634.

       9.       Ms. Concordia appeared in the action through counsel.

       10.      On or about November 20, 2018, a Judgment of Dismissal was entered in favor of

Ms. Concordia and against Synchrony. (Exhibit B)



                                                 2
          Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 3 of 10




       11.     The judgment of dismissal was entered due to Synchrony’s failure to appear at a

pretrial conference on November 19, 2018.

       12.     Synchrony never appealed the judgment.

       13.     Synchrony never sought to vacate the judgment.

       14.     Pursuant to Mass. R. Civ. P. 41(b), the judgment operates as an adjudication upon

the merits.

       15.     Pursuant to Mass. R. Civ. P. 60(c), Synchrony is now time-barred from seeking

relief from the judgment.

       16.     On or about January 5, 2021, Ratchford Law Group, P.C. (“Ratchford”) mailed

Ms. Concordia a letter (“the Letter”). (Exhibit C).

       17.     The Letter stated that Ratchford had been retained by Synchrony to collect a debt

owed to Synchrony in the amount of $9,043.96 relating to a credit card with an account number

ending in 2634.

       18.     By sending the Letter, Ratchford was attempting to collect the debt alleged.

       19.     Upon receipt of the Letter Ms. Concordia retained counsel.

       20.     Ms. Concordia subsequently disputed the validity of the debt and requested

validation of the same.

       21.     On or about March 15, 2021, Ratchford responded to this validation request.

       22.     Among other things, the documents provided by Ratchford in response to the

validation request acknowledged the existence and/or dismissal of the 2017 lawsuit.

       23.     Ratchford regularly collects or attempts to collect, directly or indirectly, debts

owed or due or asserted to be owed or due another.

       24.     The principal purpose of Ratchford’s business is the collection of debts.



                                                 3
            Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 4 of 10




        25.     Ratchford uses at least one instrumentality of interstate commerce or the mails in

its business.

        26.     Ratchford is a “debt collector” as that term is defined in § 1692a of the Fair Debt

Collection Practices Act (“FDCPA”).

        27.     The debt owed by Ms. Concordia to Synchrony was incurred for personal, family,

or household purposes.

        28.     The debt owed by Ms. Concordia to Synchrony was not incurred for business

purposes.

        29.     Ms. Concordia suffered an injury in fact that is traceable to the acts and/or

omissions of Ratchford, and which is likely to be redressed by a favorable decision in this matter.



                                   COUNT I
            VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

        30.     The preceding actions are incorporated herein by reference.

        31.     Pursuant to 15 U.S.C. § 1692e(2) Ratchford is prohibited from falsely

representing the character, amount, or legal status of a debt.

        32.     Pursuant to 15 U.S.C. § 1692e(5) Ratchford is prohibited from taking or

threatening to take any action that cannot be legally taken.

        33.     Ratchford violated 15 U.S.C. §§ 1692e(2) and/or (5) by attempting to collect the

debt allegedly owed by Ms. Concordia to Synchrony, where judgment had already entered in

favor of Ms. Concordia and the deadline to seek relief from such judgment had expired.

        34.     Ms. Concordia suffered economic damages due to Ratchford’s wrongful actions,

including but not limited to costs and attorney’s fees.




                                                  4
         Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 5 of 10




       35.     Ms. Concordia also suffered non-economic damages due to Ratchford’s wrongful

actions, including but not limited to emotional distress, an invasion of personal privacy, anger,

anxiety, fear, frustration, embarrassment, distraction, and inconvenience.



                                   REQUEST FOR RELIEF

       WHEREFORE, Ms. Concordia requests that the Court issue judgment in her favor and

against Ratchford as well as the following relief:

       A. Judgment that Ratchford violated the Fair Debt Collection Practices Act;

       B. Actual and compensatory damages;

       C. Statutory damages;

       D. Costs and attorney’s fees; and

       E. All other relief to which she is entitled at law or equity.



                                        JURY DEMAND

       Ms. Concordia demands a trial by jury on all issues so triable.



                                                     Respectfully submitted,



                                                     /s/ Christopher M. Brine
                                                     Christopher M. Brine (BBO 679289)
                                                     Brine Consumer Law
                                                     100 Grove Street, Suite 116
                                                     Worcester, MA 01605
                                                     P – (508) 556-1899
                                                     F – (508) 556-9951
                                                     cmb@brineconsumerlaw.com




                                                 5
Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 6 of 10




                                                                A
Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 7 of 10
Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 8 of 10




                                                                B
Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 9 of 10




                                                                C
Case 4:22-cv-40001-TSH Document 1 Filed 01/04/22 Page 10 of 10
